
14 N.Y.2d 796 (1964)
In the Matter of the Claim of Jean B. Post, Respondent,
v.
Tennessee Products &amp; Chemical Corp. et al., Appellants. Workmen's Compensation Board, Respondent.
Court of Appeals of the State of New York.
Argued April 30, 1964.
Decided June 4, 1964.
F. Walter Bliss for appellants.
Louis J. Lefkowitz, Attorney-General (Julius Fell, Ruth Kessler Toch and Daniel Polansky of counsel), for Workmen's Compensation Board, respondent.
No appearance for claimant-respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD and BURKE. Judges VAN VOORHIS and SCILEPPI dissent and vote to reverse and to dismiss the claim upon the ground that as a matter of law decedent met his death solely as a result of intoxication. Taking no part: Judge BERGAN.
Order affirmed, with costs to respondent Workmen's Compensation Board. No opinion.
